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           UNI'FED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK

                                                             Statement of Reasons Pursuant to 18 U.S.C.
           United States of America,                         § 3553(c)(2)
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           -against-                                         08-CR-681

           WAYNE SOUTH                                                           FILED
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                                                                                       "'"'T E.O.N.Y.
                                       Defendant
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           Appearances
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  I. Introduction

         Wayne South was initially sentenced by this court on September 7, 2010 to sixteen

  months.incarceration, with five years' supervised release for his part in a conspiracy to distribute

  and possess with intent to distribute cocaine and cocaine base.

         Following his release from prison, in April 2012, the United States Probation Department

  initiated Violation of Supervised Release Proceedings against South. He ultimately was

 convicted. South' s personal growth and acceptance of responsibility are evidenced by the

 information contained in the Pre-Sentence Report and his own statements to the court. He would

 not benefit from an additional period of incarceration~

         ,For the reasons that follow, he is sentenced to an extended period of four and a half years

 probation.



 II. Facts and Procedural History

         On February 20, 2009, Wayne South pleaded guilty to count one of a four-count

 indictment. See Statement of Reasons Pursuant to 18 U.S.C. § 3553(c)(2), United States v.

  Wayne 'south, No. 08-CR-681 , (E.D.N.Y. 2010), ECF No. 104, at 3-5. South was charged with

 conspiring to distribute and possess with intent to distribute cocaine and cocaine base, in

 violation of 2 1 U.S.C. §§ 846, '84l(a)(l) and (b)(l)(B). !d. The charge was based on South's

 conduct in driving his then-girlfriend, Jessica Heyliger, a Bloods gang member, to three drug

 deals between April 16, 2008 and June 11, 2008. !d.

         ·T he Probiition Department determined that South' s total offense level was 23. !d. at 4.

 This was computed on the basis of a conspiracy for possession and sale of fifty grams of powder

 cocaine and one hundred and eighteen grams of crack cocaine. !d. His criminal history category

 was III. /d. The calculation included a two level mitigating role adjustment, a four-point

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  dedi.lcti?n for South's minimal role in the offense, and a three-point deduction for acceptance of

  responsibility. !d.

         The Pre-Sentence Report described the extensive physical abuse South experienced

  throughout his childhood at the hands of his father. !d. at 5. South's medical conditions,

 including epilepsy, high blood pressure, hypertension, depression, and rectal bleeding would

  make serving a long prison sentence difficult. !d. at 5, 8. The physical assaults South had

 experienced at the hands of the Bloods gang, in connection with the gang's attempts to force him

 to join the gang, were also significant. !d.

         .South had a daughter, Jahkaya Thompson, who was then almost seven years old. He had

 expressed a "genuine desire to assist in his daughter's upbringing." !d. at 6. South's testimony

 was confirmed by South's grandmother, Maxine.Thompson. He planned to contribute to the cost

 of his daughter's raising by providing money to the child's maternal grandmother. !d. at 6.

         ·While South was aware that his girlfriend occasionally sold drugs, he did not join in the

 major overall conspiracy to which he pleaded. !d. South was, "at most, guilty of conspiring to

 help deliver fifty grams of powder cocaine in violation of21 U.S.C. §§ 846, 84l(a)(l)." !d. The

 total offense level was calculated based on fifty grams of powder cocaine, which-given South's

 crimin~l history category of III-generated a guidelines range of imprisonment between ten and

 sixteen,months. !d. at 7.

         On September 7, 2010, South was sentenced to sixteen months' incarceration, five years'

 supervised release, and a $100 special assessment fee. !d. at 8.


 III. Present Violation

        -On April4, 2012, the United States Probation Department initiated Violation of

 Supervised Release Proceedings against South. See Report on Violation of Supervised Release,

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       April;-:-20 12 ("Violation Report"). He was ultimately charged with failure to comply with the

       followi~g· four conditions: ( 1) that he "shall not purchase, use, distribute, or administer any

       c.ontrolled substance;" (2) that he "is to participate in a drug treatment program as directed by the

       Probati9n Department~" (3) that he "shall report to the probation officer as directed;" and (4) that

       he "shaV complete ninety (90) days home confinement." Pre-Sentence Evaluation Report,

       December, 2012 ("Pre-Sentence Evaluation Report").

              The first charge was based on several positive marijuana tests, dating to September 21,

       2010. Violation Report at 4. After this positive test, South was referred to an outpatient

       substance abuse treatment program, which he completed, albeit with sporadic attendance. !d.

      He again tested positive for marijuana on August 19,2011 and September 21, 2011 . . !d.

      Following these tests, he was referred back to the program, where he failed to cooperate in

      treatme~t. !d.   This failure provided the basis for the second charge. The third charge was based

      on South's failure to report to the Probation Department as instructed on December 2, 2011,

      Dece.mber 5, 2011, January 5, 2012, February 2, 2012, and March 1, 2012. Id. The fourth

      charge, failure to comply with the special home confinement condition of his supervised release,

      was based on South's failure to be present at his residence as instructed by the probation

      department during scheduled attempts to install monitoring equipment. !d.

              Pursuant to this court's September 21, 2012 order, South underwent psychiatric and

      psychological examination to aid in sentencing for his violation of supervised release. See

      Order, Sept. 21,2012, ECF No. 155. As a result ofthis examination, a Pre-Sentence Report was

      submitted. See Pre-Sentence Evaluation Report. South appeared to meet the criteria for the

      diagno~es of Cannabis Dependence and Antisocial Personality Disorder and that, as a result, his


      prognosis was "guarded." !d. at 10-11. The report concluded that South could benefit from



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          Cognitive
                '~
                    Behavioral psychotherapy
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                                             in addition to continued participation in a drug treatment
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         progratl)..- ld. at 13.



         IV. Sentencing for Violation of Supervised Release

                     The relevant statutory provisions indicate that upon a finding of violation of supervised

         release, the court may continue the offender on supervised release with, or without, modifying.or

         enlarging the conditions. See 18 U.S.C. § 3583(e)(2). Additionally, the court may extend the

         term of supervised release. /d. In the alternative, the court may revoke supervised release and

         impose a term of incarceration of up to two years on any such revocation, pursuant to 18 U.S.C.

         section 3583(e)(3). !d.

                 At a hearing on February 14, 2013, South was sentenced to an extended period of

         probation of four and a half years from the date of the current sentencing. !d. at 6. In addition to

         all of t~e special conditions originally imposed, a prohibition on gang association and continued

         cognitive behavioral treatment was imposed. !d. at 7. The considerations noted at his original

         sentencing-his difficult upbringing, mental and physical health issues, family responsibilities,

         and minimal role in the crime for which he was initially convicted-remain compelling.

                 South has experienced significant personal growth as a result of psychological counseling

         session~. He now accepts responsibility for his actions. He told the court at sentencing for his

         violation of supervised release: "I was the one to blame not other people I was trying to blame

         before ~nd I made a lot of excuses for things that I could have done better and differently." !d. at

         6. He has spent approximately five months in custody as a consequence of the present violation.
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         An additional period of incarceration is nqt necessary.
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                         Given South's difficult upbringing, medical conditions, and acceptance of responsibility

                  for his crrimes, as well as the indications frorri the Pre-Sentence Report that he would benefit

                  from continued treatment, custody is terminated. An extended period of four and a half years

                  probation is imposed.




                                                                         Jac   . Weinstein
                                                                         Se ·or United States District Judge .

                  Dated: Apri19, 2013
                         Brooklyn, New York




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